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UNITED STATES DISTR_ICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

v. CASE No. 6;19-cr- 56 -ORL \T> `\`35
8 U.S.C. § 1326(a)
DAVID RODRlGO JARAMILLO-MUNOZ
a/ k/ a David Rodrigo Jaramillo

INDICTMENT

The Grand Jury charges:
COUNT ONE

On or about March 21, 2018, in the l\/[iddle District of Florida, the

defendant,

DAV]]) RODRIGO JARAM]LLO-MUNOZ,
a/k/a David Rodrigo Jaramillo,

being an alien of the United States, who previously had been convicted of a

felony offense, including

1) Driving While license revoked as a habitual offender, on or
about June 15, 2009,

2) Driving While license revoked as a habitual offender, on or
about September 14, 2010,

3) Driving While license revoked as a habitual offender, on or
about Novernber 2, 2011,

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and Was thereafter deported, excluded, and removed from the United States
on or about Decernber 19, 2011, and Who had not received the consent of the
Attorney General or the Secretary of Horneland Security to reapply for
admission to the United States, Was found to be Voluntarily in the United
States.

In violation ofS U.S.C. § l326(a) and (b)(l).

A TRUE BIL`L,

;>/»/

Foreperson

 

MARIA CHAPA LOPEZ
United States Attorney

By: %A Z_q%€"

Brandon Baylrss
Special Assistant U . S. Attorney

By: Q<iM C~ cQ_

Sara C. Sweeney
Assistant United States Attorney
Deputy Chief, Orlando Division

FORM OBD-34
3/19/19 Revised

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No.

 

UNITED STATES DIS'I`RICT COURT
Middle District of Florida
Orlando Division
THE UNITED STATES OF AMERICA

VS.

DAVID RODRIGO JARAMILLO-MUNOZ

 

INDICTl\/IENT

Violations: 8 U.S.C. § 1326(a) and (b)(l)

 

A true ` ,

Foreperson

 

 

Filed in open court this 20th day of March, 2019.

 

Clerk

 

Bail $

 

 

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